Appellate Case: 23-5131     Document: 010111100083          Date Filed: 08/26/2024      Page: 1
                                                                                       FILED
                                                                           United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                               August 26, 2024
                          _________________________________
                                                                               Christopher M. Wolpert
                                                                                   Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                             No. 23-5131
                                                   (D.C. Nos. 4:20-CV-00426-JLK-CDL &amp;
  JOSHUA WOFFORD,                                         4:17-CR-00085-JLK-1)
                                                                 (N.D. Okla.)
        Defendant - Appellant.
                       _________________________________

             ORDER DENYING CERTIFICATE OF APPEALABILITY *
                    _________________________________

 Before HOLMES, Chief Judge, MORITZ, and CARSON, Circuit Judges.
                    _________________________________

        Joshua Wofford requests a certificate of appealability (COA) to appeal from the

 district court’s denial of his 28 U.S.C. § 2255 motion to vacate, set aside or correct his

 sentence. We deny a COA and dismiss this matter.

                                      BACKGROUND

        A jury convicted Wofford of one count of carjacking, based in part on

 identifications by Daniel Harris and Garrett Higgins. See United States v. Wofford,

 766 F. App’x 576, 577-79 (10th Cir. 2019). Harris saw the carjacking and later identified

 Wofford in a photo line-up, while Higgins—a Tulsa police officer—saw the carjacker



        *
          This order is not binding precedent except under the doctrines of law of the case,
 res judicata, and collateral estoppel. It may be cited, however, for its persuasive value
 consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
Appellate Case: 23-5131      Document: 010111100083         Date Filed: 08/26/2024      Page: 2



 driving the stolen truck during a chase and identified Wofford as the carjacker in a

 show-up after police seized him. At trial, the parties heavily litigated the admissibility

 and reliability of witness identifications. In Wofford’s direct appeal, he (1) challenged

 the photo line-up shown to Harris as unduly suggestive and Harris’s identification as

 unreliable (attempting to undermine Higgins’s credibility in the process), and

 (2) challenged the district court’s exclusion of Wofford’s expert regarding issues with

 witness identifications. See id. at 579-82. We rejected those arguments and affirmed.

 See id. at 581, 582.

        Wofford brought a timely § 2255 motion asserting that his trial counsel and

 appellate counsel were ineffective in handling witness identification issues. The district

 court denied both claims. It decided the appellate-counsel claim without a hearing,

 holding that Wofford failed to show his appellate counsel performed deficiently or that he

 suffered prejudice. Later, after holding a hearing on the trial-counsel claim, the district

 court determined that Wofford failed to show his trial counsel performed deficiently. It

 denied the § 2255 motion and denied a COA.

                                        DISCUSSION

 I.     Legal Standards

        To appeal from the district court’s denial of his § 2255 motion, Wofford must

 obtain a COA. See 28 U.S.C. § 2253(c)(1)(B). A COA is appropriate when a movant

 makes “a substantial showing of the denial of a constitutional right.” Id. § 2253(c)(2).

 This demonstration “includes showing that reasonable jurists could debate whether (or,

 for that matter, agree that) the petition should have been resolved in a different manner or

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 that the issues presented were adequate to deserve encouragement to proceed further.”

 Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal quotation marks omitted).

 Because the district court ruled on the merits, Wofford “must demonstrate that reasonable

 jurists would find the district court’s assessment of the constitutional claims debatable or

 wrong.” Id.
        “[T]he right to counsel is the right to the effective assistance of counsel.”

 Strickland v. Washington, 466 U.S. 668, 686 (1984) (internal quotation marks omitted).

 But “[t]he Sixth Amendment guarantees reasonable competence, not perfect advocacy

 judged with the benefit of hindsight.” Yarborough v. Gentry, 540 U.S. 1, 8 (2003) (per

 curiam). “The benchmark for judging any claim of ineffectiveness must be whether

 counsel’s conduct so undermined the proper functioning of the adversarial process that

 the trial cannot be relied on as having produced a just result.” Strickland, 466 U.S. at

 686. To establish that counsel was ineffective, “the defendant must show that counsel’s

 performance was deficient” and “that the deficient performance prejudiced the defense.”

 Id. at 687. “Unless a defendant makes both showings, it cannot be said that the

 conviction . . . resulted from a breakdown in the adversary process that renders the result

 unreliable.” Id.
        To satisfy the performance prong, Wofford “must show that counsel’s

 representation fell below an objective standard of reasonableness.” Id. at 688. “[A] court

 must indulge a strong presumption that counsel’s conduct falls within the wide range of

 reasonable professional assistance.” Id. at 689. “[A] court deciding an actual



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 ineffectiveness claim must judge the reasonableness of counsel’s challenged conduct on

 the facts of the particular case, viewed as of the time of counsel’s conduct.” Id. at 690.

        To satisfy the prejudice prong, 1 Wofford “must show that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the proceeding

 would have been different. A reasonable probability is a probability sufficient to

 undermine confidence in the outcome.” Id. at 694. “When a defendant challenges a

 conviction, the question is whether there is a reasonable probability that, absent the

 errors, the factfinder would have had a reasonable doubt respecting guilt.” Id. at 695. In

 assessing prejudice, the court “must consider the totality of the evidence before the judge

 or jury.” Id. “[T]he ultimate focus of inquiry must be on the fundamental fairness of the

 proceeding whose result is being challenged.” Id. at 696.

 II.    Application

        Wofford does not challenge the district court’s rejection of his appellate-counsel

 claim. He thus has waived any challenge to that decision, see United States v. Murphy,

 100 F.4th 1184, 1212 n.21 (10th Cir. 2024), and we need not consider it.

        Wofford does challenge the rejection of his trial-counsel claim. He first argues

 that reasonable jurists would debate the district court’s conclusion that counsel did not

 perform deficiently, asserting:

        Wofford’s trial counsel performed deficiently by failing: (i) to fully identify
        and litigate important challenges to the reliability of both Harris’s and
        Officer Higgins’s in-court identifications; (ii) to object to Higgins’s

        1
          Although the district court focused on the performance prong for the
 trial-counsel claim, we may deny a COA on an alternate ground that is adequately
 supported by the record. See Davis v. Roberts, 425 F.3d 830, 834 (10th Cir. 2005).
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        testimony at trial; and (iii) to undertake the investigation into the law and
        science underlying witness identification, memory, and cognition that was
        necessary to ensure, at a minimum, that the trial court would allow Wofford
        to present appropriate expert testimony on the fallibility of eyewitness
        identifications at trial.

 Aplt. Opening Br./Appl. for COA at 21-22. He further argues, briefly, that these

 deficiencies prejudiced his defense.

        Wofford first highlights counsel’s alleged failures with regard to challenging the

 reliability of Harris’s in-court identification. In his direct appeal, however, we held that

 “even assuming the photo lineup was unduly suggestive and Harris’s identification was

 unreliable, any error in admitting Harris’s identification evidence was harmless beyond a

 reasonable doubt.” Wofford, 766 F. App’x at 579. We pointed to Higgins’s identification

 of Wofford and to “strong circumstantial evidence that Wofford committed the

 carjacking,” including that police apprehended him near the carjacked vehicle and that

 the clothing in surveillance video “align[ed] with the clothing either worn by Wofford at

 the time of his arrest or found nearby.” Id. at 580. In light of this discussion, no

 reasonable jurist would debate whether Wofford suffered prejudice from a failure to

 further challenge Harris’s in-court identification.

        Of course, Wofford also challenges some of that other evidence, arguing that

 counsel was ineffective with regard to challenging the reliability of Higgins’s in-court

 identification and in failing to object to Higgins’s testimony at trial. But even if

 reasonable jurists would debate counsel’s performance regarding Higgins’s testimony, as

 part of its analysis, the district court also concluded that a motion to suppress Higgins’s

 testimony would have been unsuccessful, holding that “[e]ven if the show-up

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 identification process was unnecessarily suggestive, evaluation of the applicable factors

 confirms that Officer Higgins’s identification was sufficiently reliable.” R. Vol. VI at

 144. In light of our decision on direct appeal, no reasonable jurist would debate this

 finding. See Wofford, 766 F. App’x at 580 (holding “the circumstances of Higgins’s

 identification aren’t so unlikely as to be unbelievable”). Accepting that Higgins’s

 testimony would have been allowed, reasonable jurists would not debate the prejudice

 prong with regard to counsel’s actions or omissions regarding that testimony.

        Finally, Wofford argues that trial counsel was deficient in failing to take steps

 necessary to ensure he was able to present expert testimony. He asserts that had counsel

 litigated the issue differently, “the district court likely would have realized that such

 testimony was imperative to ensure that Wofford could present a complete defense and

 effectively rebut the eyewitness testimony against him.” Aplt. Opening Br./Appl. for

 COA at 33. But we have previously recognized that in many circumstances, “expert

 psychological testimony is unlikely to assist the jury—skillful cross-examination

 provides an equally, if not more, effective tool for testing the reliability of an eyewitness

 at trial.” United States v. Rodriguez-Felix, 450 F.3d 1117, 1125 (10th Cir. 2006). In the

 direct appeal, we found no abuse of discretion in the district court’s conclusion that the

 expert’s proposed testimony was not relevant, in part because defense counsel’s

 cross-examination highlighted relevant issues. See Wofford, 766 F. App’x at 582.

 Further, some of the subjects of Wofford’s proposed expert testimony were deficiencies

 in Harris’s identification. As just discussed, however, in the direct appeal we assumed

 “the photo lineup was unduly suggestive and Harris’s identification was unreliable,” id. at

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 579, yet we upheld the conviction. In these circumstances, reasonable jurists would not

 debate whether Wofford established prejudice from his counsel’s conduct with regard to

 expert testimony.

                                     CONCLUSION

       We deny a COA and dismiss this matter.


                                             Entered for the Court


                                             Nancy L. Moritz
                                             Circuit Judge




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